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                IN THE UNITED STATES DISTRICT COURT
              FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

JOHN DOE,                                  :   Amended Complaint Filed 1/7/20
                                 Plaintiff :
                                           :   No. 1:18-CV-1370
                    v.                     :
                                           :   Hon. John E. Jones, III
JOSH SHAPIRO, et al.,                      :
                               Defendants :


                                      ORDER

       AND NOW, this WK Gay of May, 2020, upon consideration of the Joint

Motion to Amend Caption, Redact Personal Identifiers and Unseal Case, it is

hereby ORDERED that the motion is GRANTED as follows:

       1.    The caption of this case shall be amended to : JOHN DOE v. JOSH

SHAPIRO, in his official capacity as Attorney General of Pennsylvania;

MATTHEW FOGAL, in his official capacity as District Attorney of Franklin

County, Pennsylvania; BRIAN SINNETT, in his official capacity as District

Attorney of Adams County, Pennsylvania; DAVID W. SUNDAY, JR., in his

official capacity as District Attorney of York County, Pennsylvania; and

HEATHER ADAMS, in her official capacity as District Attorney of Lancaster

County, Pennsylvania.

       2.    Plaintiff shall be pseudonymously identified on this Court’s docket

and in the parties’ filings.
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        3.      All filings from the opening of the case until the filing of the

Amended Complaint shall remain sealed.

        4.      Beginning with the Amended Complaint and all documents filed

since, the party responsible for filing shall, within 14 days of this order, provide the

Clerk with a redacted version of the filing to replace the original document.

        5.      Redaction shall include all personal identification information and

facts which would allow the identity of the Plaintiff to be identified, such as:

             a. Plaintiff’s name,

             b. Plaintiff’s address, and

             c. the factual allegations relating to Plaintiff’s alleged criminal offense

                and subsequent charge.

        6.      The section of the crimes code that Plaintiff was cited with will not be

redacted.

        7.      The docket will be unsealed by the Clerk in fourteen days, making all

documents filed since the Amended Complaint publicly accessible – in redacted

form.


                                           BY THE COURT:

                                           V-RKQ(-RQHV,,,
                                           JOHN E. JONES, III
                                           United States District Judge
